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April 24, 2023

The Honorable Christopher R. Cooper
U.S. District Court for the District of Columbia
333 Constitution Ave NW
Washington, DC 20001

                      Re: June 1st Sentencing of John Strand

Dear Judge Cooper:

To say that the events of January 6, 2021, serve as a learning experience would be an
understatement. If I had any idea that the situation would grow so out of control, I would have
never attended.

I chose to go to trial because I believe in my innocence. A jury has since rendered a guilty
verdict, but I will pursue my right to appeal. I hope to be vindicated but at the same time, like
most Americans, I deeply regret the bedlam that ensued on January 6, and the harm it caused to
many people and the country we all love. The fact that I know that I am innocent of the charges
the prosecution brought against me is distinct from, and does not negate, the sadness I have for
individuals who were harmed from the events of that day, especially the brave police officers and
first responders who always place their lives in danger, in order to protect the innocent. It was
very upsetting to witness their testimony at my trial, and while I have always conducted myself
lawfully and peacefully, I am even further committed to supporting law enforcement, and
advocating for peaceful and lawful protest, without any tolerance for violence. My statements in
this regard are real, and are not “crocodile tears,” as the government so awfully contends.

Unfortunately, my family and my community also have endured punishment by association. I
could not have envisioned a scheduled speech being canceled at the moment it was supposed to
start without reason or explanation, followed by an unexpected turn of events that would bring so
many difficulties and pain for so many people. I have dedicated my life to the defense of liberty
and justice, and I’m very sorrowful that this effort has been severely undermined.

I thank your Honor for this opportunity to share my story and hope you can appreciate that my
life consists of much more than the events of that fateful day. I pray that you might consider
tempering judgment with mercy in reaching your decision, as well as considering a stay of your
sentence pending my planned appeal, as I continue to satisfy the conditions of pretrial release.

Background:
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I was born in Monterey, California to Jack and Claire Strand, and grew up in a vibrant Italian-
American family. We are six siblings: two brothers, Bobby and Michael, and three sisters,
Gabrielle, Anna, and Sonja. Bobby and I were inseparable for most of my life. We shared a bunk
bed, a passion for music, and many of the same interests.

My parents met when my mother was in high school and my father was in college at Villanova,
but they wouldn't begin dating for a few years – until my grandparents thought my mother was
old enough.

After graduating, my father served in the Navy for 20 years, earning the rank of Lieutenant
Commander. My mother earned her Bachelor of Arts in English and became a teacher and
homemaker. They have been married for over thirty years. It was not always smooth sailing, but
my parents worked through their conflicts with the support of strong faith and family, and our
home life remained a happy environment.

My maternal grandmother fit the Italian cliché and could always be found in the kitchen. She
made the most incredible meatballs, spicy sausage, and eggplant parmigiana.

My paternal grandfather was an officer in the United States Marines and served in the Korean
and Vietnam wars. He was always supportive of my choices to take risks and challenges, even
when they were difficult. His military service deeply impacted our entire family, including me.
He was honored with a twenty-one-gun salute at his funeral in Arlington Cemetery. His
memorial service deeply impacted me, and I consider it one of the most remarkable events of my
life as a citizen of our great nation.

Although raised in Catholic homes, my parents developed their own Christian faith in college.
That faith tradition provided a strong foundation for our entire family and played a critical role in
the development of my own personal character.

A Major Transition:

My father shifted into the private sector, and my parents decided to try homeschooling when I
was in elementary school. Their decision to homeschool several decades ago, long before it was
popular, largely stemmed from their desire to provide us with a classical education and a
disciplined spiritual upbringing based on a personal relationship with God. We would spend
entire Sundays together – first at church and then visiting friends and neighbors.

My parents had a strong work ethic and discipline. We woke at dawn to pull weeds in mom’s
garden and complete chores around the house. I mowed lawns and shoveled snow to help
neighbors as a youth, learning the value of service. We had later moved from California and the
east coast to live near the Rocky Mountains, and the entire community revolved around
interacting with the outdoors. I developed a strong respect and a love for nature. I was also an
accomplished pianist and very attracted to the arts.

I had a clear understanding of patriotism as a child, being the son and grandson of career military
men. My father and grandfather shared stories of how terrible life was under dictatorial and
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repressive regimes. Their conversations ingrained in me the importance of individual freedom,
and the unique Constitution of the United States, especially the First Amendment and the entirety
of the Bill of Rights.

I became very passionate about music and soon began performing in public. At age thirteen I
discovered songwriting, and my brother and I founded an indie rock band and began performing
locally and regionally. We also led worship for several churches and developed an enthusiastic
following in the community.

Young Adulthood & Dislocation:

Bobby and I were dedicated to pursuing a career in music. I began junior college at sixteen while
completing my high school work, but I discontinued college just short of my associate degree to
work in a recording studio. This job taught me a lot about the music industry and gave our band,
Celeste, the chance to record our first album. My employer, Taylor Mesplé, was an accomplished
writer, producer, and prodigious pianist. He became a mentor and is still a close friend.

Our band toured tirelessly for years, playing throughout the region and even booking some gigs
in Nashville. We were a secular rock band, but our strong faith background led to religious
elements in our songs. We took first place in a national music performance competition while
still in our teens, and Bobby and I believed this would be our career. I helped to pay the bills by
doing construction work framing homes. It was very difficult, but it was gratifying to take a
project from a hole in the ground into becoming a fully formed house.

I met someone during my early music years, and we were married within a year. Our band
moved back to the west coast, but my brother and I started growing apart when he got a job with
other musicians at a church, and we seemed to have a divergence in focus. I also realized that I
had held a romanticized idea of finding a soulmate, and the person I had married was not the
right match. Kate was the first woman I ever dated; not because I wasn’t interested in dating, but
because I wanted to choose a relationship with purpose and respect; yet, we were unable to
overcome our differences. I began experiencing severe depression and anxiety.

After grinding it out for nearly a decade, I shifted from professional music, feeling like I was
hitting my head against a brick wall. I turned my focus to a budding career as a model and actor.
I supplemented our income working in security and hospitality. The financial and relationship
difficulties were a worsening challenge, and after a few years, Kate and I amicably agreed to
divorce.

A New Beginning:

I was signed to a modeling agency in New York City. I booked jobs with Giorgio Armani and
other high fashion brands, and worked on several TV shows, including Vanderpump Rules and
Breaking Amish. My career took another step up when I signed a contract with Wilhelmina
Models, an elite agency.
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As a model, I often felt pressured to intimate that I might be gay. There’s a considerable
undersurface of relational, sexual, and power dynamics determining if people can be successful
in the industry. I navigated those nuances knowing I could be more successful had I accepted
certain advances, but I refused to deviate from my morals and convictions. I am incredibly proud
that I held fast when repeatedly tested. I endured pain and disappointment from losing out on the
higher achievement I deeply desired, but I was dedicated to pursuing a career without sacrificing
my principles and my faith.

The height of my modeling career was ongoing work in India and China, where I spent almost
two years before the lockdowns. It was a unique and enriching experience. I saw extreme
poverty first-hand and lived in a culture where people did not have the same freedoms and
opportunity afforded in America. That impacted me enormously, and I deeply enmeshed myself
in the local culture. I had achieved my most significant career success, but that all got shut down
with the onset of Coronavirus.

My Leap into Advocacy:

I considered the stunting of my career a direct result of government overreach, experiencing
significant personal harm. I could empathize with the short-term decision to pause and assess the
potential consequences at the outset, but bristled as lockdowns were unilaterally instituted
without legislative due process, while evidence quickly began to show that such restrictive
measures were not helpful, even as our livelihoods and families were devastated. I understood it
to be a flashpoint for social control, similar to examples of evolving totalitarianism throughout
history that my father and grandfather had forewarned.I held strong opinions about liberty and
personal responsibility, thanks to their service to our country. I felt compelled to carry on their
legacy.

Peaceful protest is an essential and revered component of our American tradition. That's all I
ever wanted or intended as I began to advocate for a restoration of civil liberties in California
and throughout the United States. I was living in a very locked-down area and I saw the attack on
civil liberties as a real danger. My mindset was similar to words Justice Gorsuch recently said:
[Covid emergency orders] were perhaps the greatest intrusions on civil liberties in the peacetime
history of this country.”

In the West Hollywood area, I quickly became a leader as a freedom advocate. I found there
were many people with similar viewpoints who wanted to unite. Our movement grew from
dozens to hundreds and then thousands as we organized a weekly rally in Beverly Hills. It was a
grassroots event and a shining display of our democracy with a very diverse population. Week
after week, over one-third of the participants were immigrants. The Beverly Hills Freedom Rally
was a rainbow coalition of non-violent advocacy supervised by an equally tolerant local police
force; the BHPD were exemplary in their service and support of our First Amendment activities.

Those gatherings featured many national speakers and immigrant leaders, including Dennis
Prager and several gay public figures respected across the political spectrum, Dave Rubin and
Brandon Straka, along with Dr. Gold, who discussed the constitutional aspect of the lockdowns.
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This led to my involvement in her organization, as we had similar perspectives and priorities;
chiefly, civil liberties.

I soon began working full time for AFLDS, with a busy travel schedule. She saw me as an
articulate and hardworking person who is effective on the ground and valued my ability to get
people from various backgrounds and ideologies to work together. Although most would
consider me politically conservative, I chose to work for a non-partisan civil liberties
organization in order to mitigate the dangers of lockdowns and arbitrary government mandates.
We accomplish this through educational communications to the public and civil litigation efforts
in support of medical freedom.

Dr. Gold was a single divorced mother and an emergency physician trying to withstand sudden
national attention and pushback that came out of nowhere. She juggled the growing burdens of
work and the vitriol that came from people with opposing beliefs who painted her as dishonest
and dangerous. I knew her to be quite the opposite, with deep kindness and compassion, and
accurate scientific insight. The Frontline Doctors organization may have been portrayed as large
by the media, but the executive team was just a few people, on a meager budget of small-dollar
donations from middle class citizens. I began to work as both her personal security, and the
organization’s Creative Director.

The Events of January 6, 2021

I will address this event in a video presentation at sentencing, and my lawyer is also submitting a
document on my behalf. Suffice it say, yet again, that I wish I had never gone to Washington,
D.C. for that event, for many reasons.

Subsequent Events:

The January 6 event was a huge wake-up call in many ways, including, from a professional point
of view, my preparation for future work events. Before charges were issued against Dr. Gold and
me, we sat down and contemplated how to better avoid such situations. We also considered ways
to prepare for unexpected situations and mitigate dangerous circumstances. I had previously
undergone security training in California, and I decided to supplement that with additional
training. I am learning to be more thorough in preliminary preparations and to know the exact
itinerary from a security perspective. This training will help me adhere to the highest standards
and protocols of protection and aid us in making more mindful and conscious decisions in the
future.

Otherwise, I have dedicated myself to the mission of our civil rights organization, supporting
people’s health education and constitutional liberties, and to Frontline Flash, a developing news
show for the modern social media culture. My faith is still the cornerstone of my life, especially
during these trying times. I continue to attend Church weekly whenever possible. I want to grow
and become a better man and citizen, turning the negatives of that fateful day into a positive
opportunity for my life and for the community. I understand that as a political activist, it’s
important to broaden my perspective to increase my effectiveness.
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My perspective certainly broadened during the trial, as I listened to others who were present at
the Capitol on January 6 . I heard the stories of police officers and a Capitol parliamentarian as
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they testified, and my heart went out to them. I was in Washington D.C. that day to help expand
our message of freedom and hope, and to make sure my client was safe; not to harm anyone or
destroy property, or any other inappropriate reason. We would never have attended if we were
aware of the malintent of others.

As you know, while I discussed the election and my strong feelings about it before the events of
January 6 (in fact, very soon after the election itself) I never discussed the certification at all in
any private texts and messages because I never thought about delaying or obstructing any
proceeding. I sent those messages, again, without thinking anyone besides their intended
recipients would ever read them, so there was no reason for me not to talk about the certification
process if I had actually been aware of it and harbored any intention to interfere. So while I was
concerned about the indications of potential election fraud, and I have certainly used strong
words when speaking to my friends and family, my ongoing intent has never been to achieve
change through violence, but rather through the type of peaceful assembly we had demonstrated
repeatedly in California. My specific intent in being in D.C. on January 6 was to keep my client
safe, and I know in my heart that I did exactly that to the best of my ability in those
circumstances.

Conclusion

I am truly sorry that the peaceful message we intended to share has been drowned out. The
illegal activities that happened around us sadly taint our important mission. I plan to continue
speaking about my beliefs and promoting both freedom and accurate education, but going
forward I will have more wisdom and experience than before. Because of these events, I have
sought spiritual counsel and additional training.

Going forward, I intend to mindfully and inclusively work toward the reconciliation of all of the
citizens of our great country so that we never again experience another event like January 6,
2021.

Respectfully,

John Strand
